CJA 20 APPOIN'I'MENT OF AND AUTHORITY 'I`O PAY COURT APPOINTED COUNSEL

 

'I'NW

1. cm.mlsT./DI\G&BE 2

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Tumer, Stephen

 

 

 

3. MAG. DKT.IDEF. NUMBER

4. nlsr. oK'r.rm:F. NUMBER
2:05-020004-001

5. APPEALS DKT.!DEF. NUMBER

6. OTHER DKT. NUMBER

 

7. IN CASE'MATI'ER OF {Case Name)

8. PAYMENT CATEGORY

9. TYPE PERSON REPRESENTED

U.S. v. Tumer Felony

 

Adult Defendant

 

 

10. REP RESENTATION TYPE
(See Inatruetinns)

Appeal of Other Matters

 

ll. OFFENSE(S) CH ARGED (Cite U.S. Code. Title & Sect'ion]

If more than one offenxe, list (up to llve) major offenses charged, according to severity of offense.

l) 21 84IA=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTR.IBU TE, OR DISPENSE

 

12. ATTORNEY'S NAME gl-`irrt Name, M.l., Lsrt Name, including any sullix)
AND MAILlNG ADDRE S

Harviel, T Clifton
Harviel Law Off`lce
50 North Front Street
Suite 850

Memphis TN 38103

(901) 543-9799

Telephone Nusnbet’:

IJ. COURT ORDER

0 Appointtng Coooset

i:| F Suba For Federal Defender
El P Subs For Plnel Attorney

Pr|or Attoroey't Nlme:

|Ilc
fin
EJv

Co-Cooose|
Snbs !-`or Reutoed Attoroey
Sundlsy Co\msel

 

Appoiatment Dtite:

otherwise satislied this court that he o
(1] does not wish to waive connael, a

  
 

 

 

wine ~.”N .'r ‘ .le'#~"iv~‘¢'?¢v:‘“€

CA'I`EGORIES (Attaclt itemization of services with dotea)

14. NAME AND MAIL[NG ADDRESS OF LAW FIRM (onty provide per iostrnctions)

attorney where name . .m'n--
Df

  
    
 

-r (See Iastraetionlo l
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n€/mr')n s
Date otOrder

 

time of appointment. \:I YES

HOURS Ai`n°é"i'i§r "ii`o'u"‘sm":%"
CLMMED cLAlMEo nouns

 

15. a. Arraignment and/or Plea

 

b. Bail and Detentiun Hearings

 

c. Motioo Hearings

 

d. Trial

 

c. Sentenclng Hearings

 

i'. Revocation Hearings

 

g. Appeals Court

‘\-\|=o("} =-

 

h. Other (Specii`y nn additional sheets)

 

[Rate per hour - 5 ) T{)TAI.S:

 

F‘

a. lnterviews and Conferences

 

 

b. Obtaining and reviewing records

 

c. Legai research and brief writing

 

d. Travel time

 

e. investigative and Other work (sp¢cify nn manion-t mem

 

-»~\l:¢n -qg »:Q -

(Rate per hour - $ ) TOTALS:

 

17. Tl‘avel Expenses i'lodgiog, parking meals, r_oilelge, ete.)

 

 

 

ls. Other Expenses (orher than experc, trsouripts, e¢c.)

FRoM Tg

 

19. CER'I"|I"ICA'IION OF A'I'I`ORNEYIPAYEE FOR 'I'HE PERIOD 0 F SERVICE

 

L__l Beesose the above-named person represented her testiiod under oatimr lias *
(l] ls hnaacial!y unable to ernploy_emllel and --‘- -

- t se the interests ofjrsatice so`ra’qiire,¢he g
ppointed to represent this peli~l)ol_`tln this case, r_v,,.

 
  

siding Ju idal Omcer or ny Order ol' the Court

Repaymeot or partial repayment ordered front the person represented for tliis fe'h'»ioe at :_' -..l“
NO " `

MATHJTECH
ADDITIONAL
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Nnoc Pro T\snc hale ~,' .

 

 

 

 

 

 

 

ZU. AP?O|NTMENT TERMINATION DATE
IF OTHER TI{A.N CASE COM|'LETION

21. CAS!'I DISPO SI'I'ION

 

 

ZZ. CLAIM STATUS U I"inal I‘lyment i:] lnlerim Payrnent Nulnber

representatioo'.' YES NO
l swear oraflinn the truth or correctness ol' the above statements

Signature ol'»\ttorney:

Have yoo previously applied to the court fix compensation and!or remimhnrsemenl for this case'.’ _
Otlser than from lite coort, have yon. or toyour knowledge hal anyone else, received payment (:ompental|on or anything or vl|lte] l'ron1 any other source in connection will thus
llyes. give details on additional sheets.

l;\ Sopplemeotal l’ayment
i:i YES i:i NO lfyer, were yoo plld'!

Date:

 

23. lN COURT COMP. 24. OUT OF COURT COMP.

  

25. TRAVEL EXPENSES

|:a'YES i:i NO

 

      

  

26. OTHER EX?ENSES

  

  

17. TOTAL AMT. APPR 1' C'ERT

 

28. SICNATURE OF ‘I'HE PRES[DINC IUD[CIAL OF'FICER

DATE

ZBI. JUDGEIMAG.J'UDGE CODE

 

29. IN COURT COMP. 30. OUT OF COURT COMP. Jl.

 

 

TRAVEL EXPENSES

32. OTHER EX?ENSES

33. 'I`OTAL lAMT. APPROV`ED

 

npproved in excess ofthe statutory threshold amoun .

 

34. SlGNATURE OF CHIEF JUDGE, COU`RT OF` APP EALS (OR DELEGATE) l’symeot

DATE

 

34a. JUDGE CODE

 

 

 

Thfs document entered on the docket Sheet:'

` _ n compliance
W;th Fiu|e i.-E ami/or 32(b) Fi'-iCrP on

6' 05

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 19 in
case 2:05-CR-20004 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

